                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 Arthur M. Love,
                        Plaintiff,
                                                   Case No: RDB-21-2029
        v.
 Larry Hogan, et al.
                        Defendants.

                 PLAINTIFF’S MOTION FOR EXTENTION OF TIME TO FILE
                   OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

       NOW COME the Plaintiff, Arthur M. Love, by and through undersigned counsel, and

pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, move this Court for an order to

extend time to file the opposition for the Motion for Dismiss filed by Defendants. In support hereof,

Plaintiffs show the following:


       1.      Plaintiff filed his Complaint on August 11, 2021.

       2.      The Defendants filed their Motion to Dismiss for Failure to State a Claim and Lack

of Jurisdiction on December 22, 2021.

       3.      The time for responding to the Motion to Dismiss has not yet expired.

       4.      This motion is not being made for the purpose of delay but is made based upon lead

counsel’s illness due to a COVID infection, current assignments, and the need of time to prepare

a response. A Pro Hac Vice motion for admission of lead counsel is still pending.

       5.      Counsel for Defendants do not oppose this motion.

       6.      Plaintiff will not be able to file the opposition on time, even if Plaintiff exercises

due diligence and gives priority to preparing the opposition.
       THEREFORE, Plaintiff respectfully request the Court for an order extending the time to

file the opposition to Defendants Motions to Dismiss up to and including January 14, 2022.

Dated: January 4, 2022                      Respectfully submitted,


                                             s/Nevin L. Young
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                               CERTIFICATE OF SERVICE

       I, Nevin L. Young, hereby certify that on January 5, 2022, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.




                                            /s/ Nevin L. Young
                                            Nevin L. Young
                                            Bar ID No. 28604
